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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

    In re:                                     )        Case No. 18-42931-705
    Shannel R Ballard Moore,                   )        Chapter 7
    a/k/a Shannel Ruby Ballard                 )        Judge, Charles E Rendlen, III
                  Debtor,                      )
                                               )
    Select Portfolio Servicing, Inc. as        )
    Servicer for Deutsche Bank National Trust )         DEBTOR’S
    Company as Trustee on behalf of the holders)        CONSENT TO MOTION FOR
    Of J.P. Morgan Mortgage Acquisition Trust )         RELIEF FROM AUTOMATIC
    2007-CH5 Asset Backed Pass-through         )        STAY (Doc #9)
    Certificates Series 2007-CH5               )
    vs.                                        )        Filed By:
                                               )        Rochelle D. Stanton
    Shannel R Ballard Moore,                   )        Debtors’ Attorney
    a/k/a Shannel Ruby Ballard                 )        745 Old Frontenac Square, Ste. 202
                   Debtor                      )        Frontenac, MO 63131
                                               )
    and                                        )
                                               )        Hearing Date: July 10, 2018
    Tracy A Brown,                             )        Hearing Time: 9:30 a.m.
                                               )        Ct. Rm. 7 South
                   Trustee,                    )
                                               )
                   Respondents,                )
    ____________________________________)


           CONSENT TO MOTION FOR RELIEF FROM AUTOMATIC STAY

           COMES NOW Debtor herein submits his Consent to the Motion for Relief from
    Automatic Stay filed by Select Portfolio Servicing, Inc. as Servicer for Deutsche Bank National
    Trust Company as Trustee on behalf of the holders of J.P. Morgan Mortgage Acquisition Trust
    2007-CH5 Asset Backed Pass-through Certificates Series 2007-CH5 (“Movant”), and states as
    follows:

           Debtor admits that Movant is the holder of a promissory note secured by a Deed
    of Trust on real estate commonly known as 3959 Thomas Dr., St. Louis MO 63134.
    Debtor has scheduled her intent to surrender said property. Grounds exist to Grant Relief
    from Stay to Movant pursuant to §362.
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            WHEREFORE, Debtor prays the Court to enter Consent granting its Motion for
    Relief from Automatic Stay filed by Select Portfolio Servicing, Inc. as Servicer for
    Deutsche Bank National Trust Company as Trustee on behalf of the holders of J.P.
    Morgan Mortgage Acquisition Trust 2007-CH5 Asset Backed Pass-through Certificates
    Series 2007-CH5 (“Movant”).




    Date: June 8, 2018                           _________/s/Rochelle D. Stanton__________
                                                 ROCHELLE D. STANTON, MO Bar #49641
                                                 Attorney for Debtor, Fed. Bar #49641MO
                                                 745 Old Frontenac Square Ste. 202
                                                 Frontenac, Missouri 63131
                                                 (314) 991-1559
                                                 (314) 991-1183 Fax
                                                 rstanton@rochelledstanton.com




                                 CERTIFICATE OF SERVICE

    I certify that a true and correct copy of the foregoing document was filed electronically
    on June 8, 2018, with the United States Bankruptcy Court, and has been served on the
    parties in interest via e-mail by the Court's CM/ECF System as listed on the Court's
    Electronic Mail Notice List.


                                                        /s/Dawn Davidson__________
                                                 Paralegal to Rochelle D Stanton, Esq.
